                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION

In Re:   Kasaundras L. Cooper                     )               Case No.: 15-83030-CRJ-7
         SSN: xxx-xx-7659                         )
                                                  )
                 Debtor.                          )               Chapter 7

                                   TRUSTEE’S MOTION TO DISMISS

        COMES NOW the Trustee, Tazewell T. Shepard, and moves this Court to dismiss the above
Chapter 7 case for the Debtor’s failure to attend the 341 meetings of creditors on April 19, 2019, May 17,
2019, and June 14, 2019.

         Respectfully submitted this 18th day of June, 2019.


                                                      /s/ Tazewell T. Shepard
                                                      Tazewell T. Shepard
                                                      Trustee in Bankruptcy

                                                      SPARKMAN, SHEPARD & MORRIS, P.C.
                                                      P.O. Box 19045
                                                      Huntsville, Alabama 35804
                                                      Tel: (256) 512-9924
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                                       CERTIFICATE OF SERVICE

        This is to certify that I have this day served the foregoing document upon the below listed parties
and upon those parties listed on the Clerk’s Certified Matrix, by electronic service through the Bankruptcy
Court’s CM/ECF filing system and/or by depositing said copy in the United States Mail in a properly
addressed envelope with adequate postage thereon this 18th day of June, 2019.

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                                                          /s/ Tazewell T. Shepard
                                                          Tazewell T. Shepard




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